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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOHNNY HINCAPIE, ‘as
STIPULATION AND
Plaintiff, ORDER OF DISMISSAL

-against- 18 CV 3432 (PAC) (RWL)

CITY OF NEW YORK; Detective CARLOS GONZALEZ;
Detective DONALD CASEY; Detective JAMES CHRISTIE;
Detective ARTHUR SWENSON; Detective JOSE RAMON
ROSARIO; Detective DANIEL RIZZO; Detective
MATTHEW SANTORO; Sergeant SHARIF ALI; Sergeant
JOHN HERBST; Sergeant TIMOTHY CONNOLLY:
Sergeant GARY BORMAN; The Estate of Deputy Chief
JOSEPH DEMARTINO; Lieutenant VICTOR MOLE:
Captain “JOHN” BAYSHIM; JOHN and JANE DOE
DETECTIVES 1-5; and JOHN and JANE DOE
SUPERVISORS 1-5,

Defendants.

x

WHEREAS, the parties' have reached a settlement agreement and now desire to
resolve the remaining issues raised in this litigation, without further proceedings and without
admitting any fault or liability;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
and between the undersigned, that

I. The above-referenced action is hereby dismissed with prejudice; and

' John Herbst, the Estate of Joseph DeMartino, Victor Mole, and “John” Bayshim were dismissed from this matter ir
a Decision and Order dated January 22, 2020. (See Docket Entry No. 142). Summary Judgment was granted in favor
of Arthur Swenson, Jose Ramos Rosario, Daniel Rizzo, Matthew Santoro, Sharif Ali, 7 imothy Connolly and Gary
Borman by Decision and Order dated July 21, 2022. (See Docket Entry No. 197). :

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2. Notwithstanding the dismissal of this action in accordance with this agreement,
the District Court shall continue to retain jurisdiction over this action for the purpose of
enforcing the terms of the settlement agreement reached between the parties and set forth in the

Stipulation of Settlement executed by the parties in this matter.

Dated: New York, New York

, 2022

ELEFTERAKIS, ELEFTERAKIS & HON. SYLVIA O. HINDS-RADIX
PANEK Corporation Counsel of the
Attorneys for Plaintiff City of New York
80 Pine Street, 38" Floor Attorney for Defendants City of New York,
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Yr New “York 10007
By: By:

Gabriel P. Harris Omar J. Siddiqi

Attorney for Plaintiff Senior Counsel

SO ORDERED:

HON. PAUL A. CROTTY
UNITED STATES DISTRICT JUDGE

Dated: , 2022

